RECEIVE)

aA

UNITED STATES DISTRICT COURT Mae O74 2024
FOR THE DISTRICT OF ALASKA CLERK, U.S. DISTRICT COURT

__. ANCHORAGE, AK

UNITED STATES OF AMERICA v. ANNA M. RIEZINGER-VON REITZ

CANDICE DUNCAN, CLERK OF COURT Q L
DEPUTY CLERK Ee \ C NO. 3:23-cv-00260-JMK
Suzannette Daw
x °
PROC ao cxann's oO 0 TE: il 18, 2024
U s
t appearing (e he re is in (s Dov wo

summons sue Q the com

Federal Rules of Ciy¥i ocemu

defendant(s); it
®
@
plaintiff an e
defendant(s) has %

action as required by, sai

wise £
py
Federal Rules of ivi Neroce ®
Now, therefore, on realest oc ON or fogs?
DEFAULT as aforesaid, of the Od. ge”
Riezinger-Von Reitz in the above- tled action herg se
entered. io 9 AS
. Vp
N

€ase 3:23-6v-00260-JMK Beeument8 Filed 64/98/24 Page 4 of 2
, — . Retail U.S. POSTAGE PAID on
PRESS FIRMLY TO SEAL PRESS FIRMLY TO SEAL acHeniee AK 99503
| eos) = Ba APR 90, 2024
—- = -— - ; ann. 9519 = $30.45
RDC 07 R2304N117967-99
PRIORITY [i granea |e Hue
M A | L. POSTAL SERVICE» EXPRESS®
EI 535 &40 940 US

Reisa Cel) amis] ote) tg

EXPRESS’ fren

It cone ef: Po 520TH
Big Late Abska G2.

Abe intel
No. Federal Agency Acct. No. or Postal Service™ Acct No,

USING TON dade eng)

4

=

o

zu

©

o

x

B

oO

x

3

>

o

o

ca

3

a

8

g C1-Dey Dzney Ci nnsary Doro
FLAT RATE =,
& os | LOS¢ “tS
3 | Py ‘other 0 mMMDoY) ‘Scheduled Delivery Tine ’ Insurance Fee COD Fee
g Ths eka cin evr pi mi lay [P°ONMLY |s s

= | ONERATE @ ANY WEIGHT a 20 anna of{ bo/2y

| “Pieler to USPS corn” ot local Post Cflice™ tor evutstan Ties emo mii Fiat Flacelpl Fea Laie
o TO: grease rao micnet i “ee 34 pee $ $

v | Specs! Total Potiaga & Fees

® To schedule free Package Pickup, CANbICE DUNCAN CLERK OF coue@r

2 scan the QR code. UNUTED STATES bisTRiCT COURT vhs : 8

= Pe ie bistRIcT of Weight Sahat hate vias ent ee 4 y c
2 222 WEST 1th AVENU boon :

& -

a i St

g | oe ro EALORAGE / ALASKA T1513 EERIE

i |

a —_—_— —_ —_—

2 | © For pickup or USPS Tracking, visit USPS.com or call 800-222-1811, Dibeary Aerts MOONY Tis Sepayes Spans

= $100.00 insurance included. Be |

| USPS.COM/PICKUP é PEEL FROM THIS CORNER aa eae
| | 1 |

This packaging is the property of the U.S. Postal Service® and is provided solely for use in sending Priority Mail Express® shipments.
Misuses may be a violation of federal law. This package is not for resale. EP19F © U.S. Postal Service; July 2022; All rights reserved.

g 5 UNITED STATES
EP13F July 2022 : MENTE OATES
Pai iGoaORo8G6 OD: 12 1 x91/2 Ng | POSTAL SERVICE.

Case 3:23-cv-00260-JMK Document9 Filed 05/01/24 Page 2 of 2
